           Case 1:23-cv-06419-DEH Document 14 Filed 08/31/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
S. KATZMAN PRODUCE INC.,                                               :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     23-CV-6419 (JMF)
                  -v-                                                  :
                                                                       :          ORDER
JHJW INC. et al.,                                                      :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

         Defendants in this action appear to be in default. Plaintiff shall file any motion for
default judgment, in accordance with the Court’s Individual Rules and Practices for Civil Cases
(available at https://nysd.uscourts.gov/hon-jesse-m-furman), within two weeks of the date of
this Order. If Plaintiff’s counsel submits calculations in support of any motion for default
judgment, Plaintiff’s counsel shall also email native versions of the files with the calculations
(i.e., versions of the files in their original format, such as in “.xlsx”) to Chambers at Furman_
NYSDChambers@nysd.uscourts.gov. If or when a motion for default judgment is filed, the
Court will enter a further Order setting a deadline for any opposition and reply and scheduling a
show cause hearing. If no motion for default judgment is filed by the deadline set forth above,
the case may be dismissed for failure to prosecute without further notice to the parties.

       Plaintiff shall electronically serve a copy of this Order on Defendants within two
business days from the date of this Order and shall file proof of such service within three
business days of the date of this Order.

        SO ORDERED.

Dated: August 31, 2023                                     __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
